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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


 Brian J. Turner,                                 )
        Petitioner,                               )
                                                  )
  V.                                              )           l:18cv932(LMB/MSN)
                                                  )
 Harold W.Clarke,                                 )
       Respondent.                                )

                                    MEMORANDUM OPINION


        Brian J. Turner, a Virginia inmate proceeding pro      has filed a petition for a writ of

 habeas corpus, pursuant to 28 U.S.C. § 2254, challenging the constitutionality of his conviction

 of drug offenses in the Circuit Court of the City of Alexandria. Before the Court is respondent's

 Motion to Dismiss the petition [Dkt. No. 7], to which petitioner has filed no response. For the

 following reasons, the Motion to Dismiss will be granted.

                                           I. Background

        Following a bench trial. Turner was convicted on June 27, 2014, ofone count of

 possession of cocaine with intent to distribute, third or subsequent offense, and one count of

 possession of more than 250 grams of a substance containing cocaine base with the intent to

 distribute. He received an active sentence ofeighteen(18) years incarceration. Resp. Ex. 1.

        A judge ofthe Virginia Court of Appeals reviewed Turner's petition for a direct appeal

 and granted the petition with respect to three assignments of error:

                1.      The trial court erred in finding that the reattachment
                        ofa GPS tracker to Turner's vehicle was not a second
                        search,thatthe warrant permitted the police to remove
                        and reattach the GPS tracer, and that extension ofthe
                        search may be based on proof not amounting to
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                        probable cause.[^]

                2.      The trial court erred in admitting letters in violation of
                        the complete writing and best evidence rules,

                3.      The trial court erred in finding sufficient evidence to
                        convict Turner ofpossessing narcotics found in a safe.

 Turner v. Commonwealth. R. No. 1309-14-4(Va. Ct. App. Feb 20,2015),slip op. at 1. Turner's

 convictions were affirmed in a published opinion entered on October 27, 2015, where the court

 summarized its holdings as follow:

                In summary, we hold that the reattachment ofthe GPS tracking
                device during the period authorized by the warrant was permissible
                under both Code § 19.2-56.2 and the Fourth Amendment.
                Moreover, we hold that because the extension ofthe warrant
                pursuant to Code § 19.2-56.2(E) was supported by both probable
                cause that Turner continued to be engaged in criminal activity and
                good cause to extend that time period ofthe warrant for the
                tracking device, the circuit court did not err in declining to
                suppress the evidence obtained as a result ofthe GPS tracking
                device. We also hold that the circuit court did not err in admitting
                photographs of mail addressed to Turner into evidence or finding
                that there was sufficient evidence to support Tumer's conviction
                for possession ofthe narcotics found in the safe. Accordingly, we
                affirm the judgment ofthe circuit court.

 Turner v. Commonwealth.65 Va. App. 312,111 S.E.2d 569(2015). The court denied Tumer's

 subsequent petition for rehearing on November 30,2015. Resp. Ex. 3. The Supreme Court of

 Virginia refused Tumer's petition for appeal on October 20,2016, Tumer v. Commonwealth. R.



         ^The record reveals that after three confidential informants provided evidence linking Tumer
 to the sale ofcocaine in Alexandria, detectives obtained a search warrant permitting the placement
 ofa tracking device on Tumer's vehicle. The warrant was issued on March 13, 2013, and allowed
 tracking for thirty days. When detectives leamed that Tumer had taken the vehicle to a garage for
 repair, one went to the garage and removed the tracking device on March 20, 2013. A detective
 observed the vehicle parked in front of Tumer's residence on April 3, 2013, and reinstalled the
 tracking device,and on April 11,2013,the circuit court extended the authorized tracking period for
 an additional thirty days. Tumer v. Comm..R. No. 1309-14-4, slip op. at 1-2.
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 No. 160017(Va. Oct. 20,2016), and denied his petition for rehearing on February 3,2017.

 Resp. Ex. 4.

         On March 22,2017, Turner filed a petition for a state writ of habeas corpus in the

 Supreme Court of Virginia, raising the following claims:

         A.      Trial counsel provided ineffective assistance for numerous
                 reasons.^

         B.      His Fourth Amendment rights were violated because the affidavit
                 submitted in support ofthe search warrant was deficient.

         C.      The reattachment ofthe GPS tracking device to his vehicle violated
                 the Fourth Amendment.


         D.      The search of a closed safe in his home during execution ofthe
                 search warrant violated the Fourth Amendment.


         E.      The evidence was insufficient to sustain the convictions.

 Resp. Ex. 5. The Supreme Court of Virginia dismissed the petition on November 29,2017.

 Turner v. Clarke. R. No. 170738(Va. Nov. 29,2017); Resp. Ex. 6.

         Turner then turned to the federal forum and timely filed the instant petition for § 2254

 relief on July 16, 2018.^ In it, he reiterates the claims that:

         1.      The reattachment of the GPS tracking device to his vehicle without
                a warrant violated the Fourth Amendment.


        2.      His Fourth Amendment rights were violated because the affidavit
                submitted in support ofthe search warrant by Detective East was
                deficient.



        ^It is unnecessary to enumerate Tumer's claims ofineffective assistance because he does not
 reassert them in this federal proceeding.

          ^For federal purposes,a pleading submitted by an incarcerated litigant is deemed filed when
 it is delivered to prison officials for mailing. Houston v. Lack.487 U.S. 266(1988). Here,Turner
 placed his petition in the prison mailing system on July 16,2018[Dkt. No. 1 at 16],and it was date-
 stamped as received by the Clerk on July 23,2018. [Dkt. No. 1 at 1]
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         3.      The evidence was insufficient to sustain the convictions.''

 Respondent filed a Motion to Dismiss with a supporting brief and exhibits on August 29,2018,

 and provided petitioner with the notice required by Roseboro v. Garrison. 528 F.2d 309(4th Cir.

  1975)and Local Rule 7(K). [Dkt. Nos. 7-9] Turner has submitted no response. Accordingly,

 this matter is ripe for disposition.

                                 II. Exhaustion and Procedural Default


         Before bringing a federal habeas petition, a state prisoner must first exhaust his claims in

 the appropriate state courts.      28 U.S.C. § 2254(b); Rose v. Lundv.455 U.S. 509,515-19

 (1982). To comply with the exhaustion requirement, a state prisoner "must give the state courts

 one full opportunity to resolve any constitutional issues by invoking one complete round ofthe

 State's established appellate review process." O'Sullivan v. Boerckel. 526 U.S. 838,845 (1999).

 Thus, in Virginia, a § 2254 petitioner must first have presented the same factual and legal claims

 to the Supreme Court of Virginia either by way of a direct appeal, a state habeas corpus petition,

 or an appeal from a circuit court's denial ofa state habeas petition. Matthews v. Evatt. 105 F.3d

 907, 910-11 (4th Cir. 1997). Because the three claims Turner makes here were presented to the

 Supreme Court of Virginia in his state habeas corpus action, they are exhausted.

        Nonetheless, Claim 2 ofthis petition, in which Turner argues that his rights under the

 Fourth Amendment were violated because the affidavit submitted in support ofthe search

 warrant by Detective East was deficient, is procedurally barred from federal consideration.

 When Turner made the same argument in his state habeas corpus proceeding, the Supreme Court

 of Virginia rejected it on the following holding:

                In claim (b), petitioner contends Detective East conducted an


        ^The claims have been renumbered here for ease ofreference.

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                unreasonable search and seizure, in violation of the Fourth
                Amendment, by securing a warrant based on uncorroborated and
                vague information from three confidential informants that was not
                included in the warrant application. Petitioner argues that
                allegations that he was involved in selling narcotics failed to
                establish a nexus among him, any illegal drugs, and the residence
                to be searched. Additionally, petitioner asserts East failed to
                observe petitioner committing any criminal activity.

                The Court holds claim (b)is barred because these non-
                jurisdictional issues could have been raised at trial and on direct
                appeal and, therefore, are not cognizable in a habeas petition.
                Slavton. 215 Va. at 29,205 S.E.2d at 682.H

 Turner v. Clarke. R. No. 170738, slip op. at 6.

         On federal habeas corpus review,§ 2254(d) mandates that a state court's finding of

 procedural default be presumed correct, provided that the state court relied explicitly on

 procedural grounds to deny petitioner relief and that the procedural rule relied on is an

 independent and adequate state ground for denying relief. Ford v. Georgia. 498 U.S. 411,423-24

 (1991). The Fourth Circuit has consistently held that "the procedural default rule set forth in

 Slavton constitutes an adequate and independent state law ground for decision." Mu'min v.

 Pruett. 125 F.3d 192,196-97(4th Cir. 1997). Therefore, the Virginia court's express finding that

 Slavton barred review of Claim 2 of this petition also precludes federal review ofthat claim.

         A federal court may not review a procedurally barred claim absent a showing ofcause

 and prejudice or a fundamental miscarriage ofjustice, such as actual innocence. Harris v. Reed.

 489 U.S. 255,262(1989). Tumer has made no attempt to contest that he has procedurally

 defaulted Claim 2 or that the default is excused by a showing of cause and prejudice.

 Accordingly, Claim 2 ofthis petition is procedurally barred from federal review.



         ^Slavton V. Parriean. 215 Va. 27,205 S.E.2d 680(1974).

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         Claim 1 ofthis federal petition is also barred from federal consideration, for a different

 reason. In that claim. Turner argues as he did without success on direct appeal that the

  warrantless reattachment of the GPS tracking device to his vehicle violated the Fourth

 Amendment. Federal reconsideration ofthis contention is foreclosed by the doctrine announced

 in Stone v. PowelL 428 U.S. 465,494(1976), where the Supreme Court held that when a state

 has provided an opportunity for full and fair litigation of a Fourth Amendment claim, a state

 prisoner may not be granted federal habeas corpus relief on the ground that evidence obtained in

 an unconstitutional search or seizure was introduced at his trial. Pursuant to Stone, a federal court

 may not re-examine a state court's determination that no Fourth Amendment violation occurred,

 or that a Fourth Amendment violation did occur but was harmless, unless it determines that the

 state did not provide the petitioner an opportunity for full and fair litigation of the claim. Hushes

 V. Dretke.412 F.3d 582(5th Cir. 2005), cert, denied. 546 U.S. 1177(2006). Thus, as the Fourth

 Circuit has observed,"Stone ... marked,for most practical purposes, the end offederal court

 reconsideration of Fourth Amendment claims by way of habeas corpus petitions where the

 petitioner had an opportunity to litigate those claims in the state court." Grimslev v. Dodson.696

 F.2d 303(4th Cir. 1982).

         In this case, it is readily apparent based on the record discussed above that Tumer was

 afforded a full and fair opportunity by the Commonwealth of Virginia to litigate his contention

 that his Fourth Amendment rights were violated by the reattachment ofthe GPS device to his

 vehicle. Accordingly, pursuant to Stone,that question may not be revisited here.^


        ^Respondent notes that the Supreme Court of Virginia deemed this claim to be procedurally
 barred in Turner's state habeas corpus proceeding by the holding in Henrv v. Warden.25 Va. 246,
 576 S.E.2d 495, 496(2003) that "a non-jurisdictional issue raised and decided either in the trial
 [court] or on direct appeal from the criminal conviction will not be considered in a habeas corpus
 proceeding." That determination created no impediment to federal consideration ofthe claim. S^
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                                   III. Merits Standard of Review


         When a state court has addressed the merits of a claim raised in a federal habeas petition,

  a federal court may not grant the petition based on the claim unless the state court's adjudication

  is contrary to, or an unreasonable application of, clearly established federal law, or based on an

  unreasonable determination ofthe facts. 28 U.S.C. § 2254(d). Whether a state court decision is

 "contrary to" or "an unreasonable application of federal law requires an independent review of

 each standard.       Williams v. Taylor. 529 U.S. 362,412-13(2000). A state court

  determination runs afoul ofthe "contrary to" standard if it "arrives at a conclusion opposite to

 that reached by [the United States Supreme] Court on a question oflaw or ifthe state court

 decides a case differently than [the United States Supreme] Court has on a set of materially

 indistinguishable facts." Id at 413. Under the "unreasonable application" clause,"a federal

  habeas court may not issue the writ simply because that court concludes in its independent

 judgment that the state-court decision applied [the law] incorrectly." Woodford v. Visciotti. 537

 U.S. 19, 24-25 (2002). Thus,"[t]he question under the AEDPA is not whether a federal court

 believes the state court's determination was incorrect, but whether that determination was

 unreasonable - a substantially higher threshold." Schriro v. Mandrisan. 550 U.S. 465,673

 (2007). "As a condition for obtaining habeas corpus from a federal court, a state prisoner must

 show that the state court's ruling on the claim being presented in federal court was so lacking in

 justification that there was an error well understood and comprehended in existing law beyond



 Crews V. Johnson. 702 F.Supp.2d 618,624 n. 6(W.D.Va. 2010)("In the Fourth Circuit, however,
 the procedural bar of Henrv v. Warden is not an adequate and independent state ground that
 precludes federal habeas review of Petitioner's claims."), affd sub nom. Crews v. Clarke. 457 F.
 App'x 277(4th Cir. 2011); Bell v. True.413 F.Supp.2d 657(W.D.Va.2006)("However,where the
 petitioner's claim concerns a federal constitutional issue,the rule set forth in Henrv does not prevent
 federal habeas review of the claim.").
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  any possibility for fairminded disagreement." Harrington v. Richter. 562 U.S. 86,103(2011).

 "If this standard is difficult to meet - and it is - 'that is because it was meant to be.'" Burt v.

  Titlow. 571 U.S. 12,20(2013)(quoting Richter. 562 U.S. at 102).

         When a federal habeas petitioner challenges the reasonableness of the factual basis for a

  state conviction, the AEDPA "requires federal habeas courts to presume the correctness of state

  courts' factual findings unless applicants rebut this presumption with 'clear and convincing

  evidence.'" Schriro. 550 U.S. at 473-74. Under the AEDPA standard,"[t]he focus offederal

 court review is now on the state court decision that previously addressed the claims rather than

 the petitioner's free-standing claims themselves." McLee v. Angelone. 967 F.Supp. 152,156

 (E.D. Va. 1997). appeal dismissed. 139 F.3d 891 (4th Cir. 1998)(table).

                                              IV. Analysis

         In Claim 3 of this petition. Turner contends that the evidence was insufficient to sustain

 the convictions. When Turner made this same argument on direct appeal, the Court of Appeals

 of Virginia announced the following factual findings and legal determinations:

                [As officers ofthe Alexandria Police Department were executing a
                search warrant at Turner's home]. Turner was near the rear
                basement door ofthe house as he began to run through the back
                yard. ... Turner was wearing sweat pants, a t-shirt and socks, but
                no shoes. Detective Gordon directed Turner to stop and when
                Turner refused. Detective Gordon tackled him to the ground and
                 secured him in handcuffs. As Turner was tackled, both Detective
                 East and Detective Lion observed a rock ofcrack cocaine wrapped
                 in plastic fall from Turner's hand. Subsequent testing revealed the
                 substance tested positive for the presence of cocaine base.

                During Detective Gordon's search ofthe basement, he discovered a
                "box of plastic sandwich bags" in the "top right dresser drawer"
                and a few pieces of mail addressed to Turner on top ofthe same
                 dresser. Detective Lion also discovered a safe that was "at the foot
                 of the bed and behind some boxes." Detective Lion pried open the
                 safe with a knife and discovered one plastic shopping bag with

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             nine larger chunks of cocaine and a sandwich bag containing 144
             individually wrapped rocks ofcocaine. The nine larger chunks of
             cocaine weighed 280.1 grams, and the 144 individually wrapped
             rocks weighed 136.0 grams. Detective Lion also found a digital
             scale on a shelf in the adjoining laundry room.


             Turner's third assignment oferror claims that the circuit court also
             erred in finding sufficient evidence to support his conviction for
             possessing the narcotics found in the safe. Turner claims the
             circuit court unreasonably rejected his hypothesis ofinnocence that
             the cocaine belonged to either Kirk Cross or some other person
             who had access to the residence.


             When the sufficiency ofthe evidence is challenged on appeal,
             "[t]his Court'must examine the evidence that supports the
             conviction and allow the conviction to stand unless it is plainly
             wrong or without evidence to support it.'" Commonwealth v.
             McNeal. 282 Va. 16, 20,710 S.E.2d 733,735(2011)(quoting
             Vincent v. Commonwealth.276 Va.648,652,668 S.E.2d 137,
             139-40(2008)). The relevant inquiry is whether "'any rational trier
             offact could have found the essential elements ofthe crime beyond
             a reasonable doubt.'" Kellv v. Commonwealth.41 Va. App. 250,
             257,584 S.E.2d 44,447(2003)(en banc)(quoting Jackson v.
             Virginia. 443 U.S. 307, 319(1979)). The judgment ofa trial court
             sitting without ajury is entitled to the same weight as ajury verdict
             and will not be disturbed on appeal unless plainly wrong or without
             evidence to support it. Crumble v. Commonwealth. 2 Va. App.
             231,233, 343 S.E.2d 359, 361 (1986). This Court's deference to
             the fact finder "applies not only to findings offact, but also to any
             reasonable and justified inferences the fact-finder may have drawn
             fi'om the facts proved." Sullivan v. Commonwealth. 280 Va.672,
             676,701 S.E.2d 61,63-34 [sic](2010).

             In this case, the circuit court rejected Turner's theory ofinnocence.
             In doing so, the circuit court found that the evidence established
             that Turner was aware ofthe presence ofcocaine and had sought to
             hide it in the basement. This finding is supported by ample
             evidence in the record including: the fact that Turner had fled with
             no shoes from the basement exit ofthe house at the time the police
             executed the search warrant, the presence of Turner's mail and
             personal papers in the basement near the location ofthe drugs, and
             the quantity ofcocaine on his person that was packaged the same
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                  way as the cocaine found in the safe in the basement. Moreover,
                 the circuit court found that there was no evidence that Turner used
                 cocaine, but substantial evidence that Turner sold cocaine.
                 Specifically, Turner had been convicted of selling cocaine on three
                 previous occasions and confidential informants had provided
                 detectives with evidence linking Turner to the sale of cocaine in
                 Alexandria, Virginia. Additionally, Detective Dave Cutting
                 testified at trial as an expert in the sale, manufacture and use of
                 cocaine and opined that possessing such a large quantity ofcocaine
                 base was inconsistent with personal use. Finally, the circuit court
                 rejected Turner's theory that the drugs belonged to Mr. Cross
                 because at the time ofthe search, Mr. Cross was sitting in the
                 living room with his hands up, did not attempt to flee, and did not
                 have any drugs on his person. Concluding there is ample evidence
                 in the record to support the circuit court's findings, we affirm
                 Turner's convictions.


  Turner v. Commonwealth.65 Va. App. at 320, 330-33,777 S.E.2d at 573, 578-79. Because the

  foregoing determination was the last reasoned state court decision on the claim at issue, its

  reasoning is imputed to the Supreme Court of Virginia, which refused further review without

  explanation. See Ylst v. Nunnemaker. 501 U.S. 797,803(1991).

          On federal habeas review, the standard for a claim challenging the sufficiency of the

  evidence supporting a state conviction is "whether, after viewing the evidence in the light most

  favorable to the prosecution, miy rational trier offact could have found the essential elements of

  the crime beyond a reasonable doubt." Jackson v. Virginia. 443 U.S. 307, 319(1979)(emphasis

  original). The federal court is required to give deference to findings offact made by the state

  courts, and this presumption of correctness applies to facts found by both trial and appellate

  courts. 28 U.S.C. § 2254(d); Sumner v. Mata.449 U.S. 539,546-47(1981); see Wilson v.

  Greene. 155 F.3d 396,405-06(4th Cir. 1998)fciting Wright v. West. 505 U.S. 277,292(1992)

  for the holding that a federal habeas court is prohibited from either "considerfing] anew the

  jury's guilt determination or "replac[ing] the state's system of direct appellate review"). Instead,


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  the federal court must determine only whether the trier offact made a rational decision to

  convict. Herrera v. Collins. 506 U.S. 390,402(1993).

         Here,for the reasons expressed in the Court of Appeals' opinion, it is apparent that a

  rational trier offact could have found Turner guilty of possession of narcotics.     Jackson,443

  U.S. at 319. Accordingly, the state courts' denial of relief on this claim was neither contrary to,

  nor an unreasonable application of, clearly established federal law, nor was it based on an

  unreasonable determination ofthe facts. Accordingly, the same result is compelled here.

  Williams. 529 U.S. at 412-13.

                                            V. Conclusion


         For the foregoing reasons, respondent's Motion to Dismiss this petition will be granted,

  and the petition will be dismissed with prejudice by an appropriate Order to be issued with this

  Memorandum Opinion.

         Entered this 12          day of (\i                             2018.




  Alexandria, Virginia
                                                               Leonie M. Brinkerna
                                                               United States District Judge




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